                               UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF OREGON
PETER C. McKITTRICK                      1001 S.W. FIFTH AVENUE, # 700               M. CAROLINE CANTRELL
   BANKRUPTCY JUDGE                        PORTLAND, OREGON 97204                               LAW CLERK

                                                 (503) 326-1536                       BETHANY COLEMAN-FIRE
                                                                                              LAW CLERK
                                                                                          TONIA McCOMBS
                                                                                              LAW CLERK


                                             October 23, 2018



   Susan Szanto
   11 Shore Pine
   Newport Beach, CA 92657

   Stephen P. Arnot (via ECF)
   Williams, Kastner, Greene & Markley
   1515 SW Fifth Avenue, Suite 600
   Portland, OR 97201-7967


           Re:        In re Peter Szanto, Case No. 16-33185-pcm7
                      October 24, 2018, Final Hearing on Claim No. 14

           Dear Mrs. Szanto and Mr. Arnot:

          In February of 2018, debtor Peter Szanto (Debtor) filed a claim in the amount of
   approximately $3.9 million on behalf of Susan Szanto (Mrs. Szanto). The chapter 7 trustee (the
   Trustee) objected to that claim, thus initiating a contested matter.

            On August 7, 2018, the Court issued a Rescheduled Notice of Hearing on Mrs. Szanto’s
   claim, setting the final, evidentiary hearing for October 24, 2018 (the Final Hearing). See Doc.
   544. Thereafter, the Court entered an Amended Scheduling Order (the Scheduling Order). Doc.
   548. The Scheduling Order requires that Mrs. Szanto appear in person at the Final Hearing and
   provides that her “failure to appear in person at the Final Hearing may result in disallowance in
   full of her claim.” Scheduling Order, ¶ 5.

          On October 23, 2018, at 1:18 a.m., Debtor emailed my courtroom deputy the attached
   correspondence and document. Debtor states in the attached correspondence that “it is doubtful”
   that Mrs. Szanto will appear at the final hearing because preparing for the Final Hearing had
   caused Mrs. Szanto to have a physical and emotional collapse on the morning of October 21.
   According to Debtor’s correspondence, Mrs. Szanto received emergency medical treatment,
   purportedly on October 22. The purpose of this letter is to inform you that the Final Hearing will
   proceed as scheduled for a number of reasons. In addition to issuing this letter, I have instructed
   my courtroom deputy to call and email the parties to notify them of that fact.


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        As a threshold matter, Debtor’s correspondence does not request that the Final Hearing be
set over and, in any event, I have previously told Debtor that he does not represent, and may not
speak for, Mrs. Szanto in this contested matter. Moreover, the Scheduling Order provides:

       Any request for any modification of this order must be by written motion supported by an
       affidavit stating sufficient facts demonstrating good cause, appropriate use of prior time
       and that the extension/continuance was requested at the earliest possible time, and no
       later than three business days before the date for which the extension is sought. The
       affidavit or declaration supporting any motion to modify this amended scheduling order
       shall authenticate and include exhibits or documents supporting the factual contentions to
       the extent such documents or exhibits exist. Any motion not timely filed or adequately
       supported by evidence may be denied without hearing.

Scheduling Order, ¶ 4. I will not set over the Final Hearing because Mrs. Szanto failed to file a
motion requesting a setover in accordance with the terms of the Scheduling Order set out
immediately above.

        The Scheduling Order also set a deadline of October 10, 2018, for Mrs. Szanto and the
Trustee to exchange and submit to the Court exhibits, and to file exhibit and witness lists.
Scheduling Order, ¶ ¶ 1; 3. The Scheduling Order explicitly states that “[e]xcept for good cause
shown, no exhibits will be received in evidence at the Final Hearing unless presented in
accordance with this order” and that “[a]ny witness whose name is not included on a party’s
witness list will not be allowed to testify, except for good cause shown or solely for the purpose
of impeachment.” Id. Mrs. Szanto did not submit any exhibits nor file an exhibit or witness list.
Her failure to do so suggests a disinclination on Mrs. Szanto’s part to comply with the
Scheduling Order.

         Mrs. Szanto has chosen to appear pro se in this matter and her decision to do so does not
excuse her failure to comply with the Court’s order or excuse her responsibility to prosecute her
claim. In general, a party who proceeds with litigation pro se “does so with no greater rights than
a litigant represented by a lawyer.” Bias v. Moynihan, 508 F.3d 1212, 1219 (9th Cir. 2007).



                                                     Sincerely,



                                                     PETER C. MCKITTRICK
                                                     Bankruptcy Judge

cc:    Susan Szanto
       Gary Blacklidge (via ECF)
       Peter Szanto (via email)




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